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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

v.                                             Case No. 3:07-cr-90-J-33HTS

RICHARD STANDRIDGE

_____________________________________/

                                   ORDER

      This cause comes before the Court pursuant to two government

motions relating to the government’s civil seizure of $397,084.63

from a bank account belonging to Standridge.            On August 1, 2007,

the government filed the United States’ Motion for Order to

Continue to Maintain Custody of Property Pursuant to 21 U.S.C. §

853(e) (Doc. # 98).        On August 24, 2007, the government filed

United States’ Expedited Motion to Consolidate Related Actions

Pending in Two Separate Districts (Doc. # 107).             Standridge has

filed responses to both government motions.            For the reasons that

follow, the Court grants the government’s motion to maintain

custody   of   property    and   denies      the   government’s     motion   to

consolidate related actions.

I.    Background

      On April 12, 2007, Standridge was named in a multi-count

indictment alleging that he played a role in a conspiracy to

defraud    various   companies    by       providing   fraudulent    workers’

compensation insurance to their employees. The indictment included

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allegations that certain of Standridge’s assets are subject to

forfeiture.     On May 29, the government obtained a civil seizure

warrant authorizing it to seize the contents of one of Standridge’s

bank accounts.      The government thereafter seized approximately

$397,084.63 from the account.       On June 26, Standridge submitted a

claim demanding the return of the seized funds.            On July 12, the

government informed Standridge that it would not return the funds

and instead intended to pursue criminal forfeiture of the funds.

On July 31, Standridge filed a motion under Rule 41(g), Federal

Rules of Criminal Procedure, demanding the return of the funds.

Standridge filed his Rule 41(g) motion in the U.S. District Court

for the District of Arizona.

II.     The Government’s Motion to Consolidate

        Title 18 U.S.C. § 981(b)(3) provides that a motion for return

of property must be filed “in the district court in which the

seizure warrant was issued or in the district court for the

district in which the property was seized.” 18 U.S.C. § 981(b)(3).

In addition, Rule 41(g) requires that a motion for the return of

seized property be filed in the district where the property was

seized. Fed. R. Crim. P. 41(g).           In its motion to consolidate

related     actions,   the   government    states    its   position    that

Standridge’s funds were seized in Jacksonville.            (Doc. # 107, at

3–4.)    Accordingly, the government argues, Standridge’s motion was

required to be filed in this Court.        (Doc. # 107, at 1.)      Indeed,


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if    the    funds   were     seized     in      Jacksonville,         Rule     41(g)    and   §

981(b)(3) would require that Standridge’s motion be filed in this

district.

       Standridge, however, argues that the funds were seized in

Arizona, and that his motion was required to be filed there. (Doc.

# 110, at 7.) This argument appears to overlook § 981(b)(3), which

would       allow    Standridge     to      file        his    motion      in    this    Court

irrespective of where the seizure took place.

       Even if the seizure unquestionably took place in Jacksonville,

however, it is for the Arizona court to decide whether Standridge’s

motion was improperly filed in Arizona.                       This Court is unaware of

any    authority      under    which        it       could    direct    the     transfer       of

Standridge’s Rule 41(g) motion.                       Perhaps recognizing that such

authority does not exist, the government requests that this Court

“communicate with the United States District Court in Phoenix to

facilitate the transfer or refiling of [Standridge’s] [Rule 41(g)]

motion in this District.”                (Doc. # 107, at 8.)                  It is unclear

exactly what the government would have this Court do, and the Court

declines to suggest to the Arizona Court how that Court should

decide the question of where Standridge’s Rule 41(g) motion should

have been filed.

       Additionally, the government makes a compelling argument that

judicial      resources     would      be     conserved        if   this      Court     decided

Standridge’s Rule 41(g) motion.                  (Doc. # 107, at 7–8.)           While it is


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clear that judicial resources would be conserved if this Court

decided Standridge’s motion, this Court declines to suggest to the

Arizona Court that it transfer the motion.           This Court would be

receptive, however, if the Arizona Court is inclined to transfer

Standridge’s motion.

III. The Government’s Motion to Maintain Custody of Property

      The government requests an order preserving its right to

maintain custody of the funds through the conclusion of the pending

criminal case such as to satisfy the requirements of 18 U.S.C. §

983(a)(3)(B)(ii)(II).      (Doc. # 98, at 4.)     Under § 983(a)(3), the

government may maintain custody of property if it both obtains a

criminal indictment containing an allegation that the property is

subject to forfeiture, and takes steps necessary to preserve its

right to maintain custody of the property under the applicable

criminal forfeiture statute.        In re 2000 White Mercedes, 220 F.

Supp. 2d 1322, 1324 (M.D. Fla. 2001). Where the government already

has custody of the property, the government can discharge its

obligation by pursuing an order preserving the availability of the

property for forfeiture.       See id. at 1329.      The government must

take the necessary steps within ninety days after a claim to the

property has been filed.      18 U.S.C. § 983(a)(3).     If it fails to do

so, the government must release the property “and may not take any

further action to effect the civil forfeiture of such property in

connection with the underlying offense.” 18 U.S.C. § 983(a)(3)(B).


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       In   his   response    to    the    government’s    motion,   Standridge

suggests that this Court defer ruling on the government’s motion

until after the Arizona court decides Standridge’s Rule 41(g)

motion.        (Doc. # 99, at 1.)          Standridge then articulates two

arguments raised in his Rule 41(g) motion. Standridge first argues

that the funds could not be civilly seized or restrained pretrial

because the funds were not substantially connected to the criminal

offenses with which Standridge is charged.                (Doc. # 99, at 3–4.)

The    funds    lack   such   a    connection   to   criminality,    Standridge

submits, because they represented refunds of federal and state tax

overpayments.

       Standridge’s argument overlooks the fact that when Magistrate

Judge Richardson issued the civil seizure warrant, he determined

that there was probable cause to believe the funds were the

proceeds of criminal conduct.             The affidavit on which the warrant

was based did not rely at all on the theory that the funds at issue

were substitute assets.            Instead, the affidavit stated that the

affiant believed the funds constituted, or were derived from, the

proceeds of the charged criminal activity.             (Doc. # 107-3, at 41,

42.)    Indeed, the affidavit concluded that the affiant believed

Standridge had overpaid his taxes with the proceeds of crime.

(Doc. # 107-3, at 42.)        Accordingly, refunds of these overpayments

are traceable to the criminal proceeds.              (Doc. # 107-3, at 42.)

Moreover, the affiant theorized that the funds were themselves


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involved    in   money   laundering    transactions    “inasmuch    as    the

transfers to the IRS were monetary transactions in criminally

derived property that was of a value greater than $10,000.”           (Doc.

# 107-3, at 42–43.)

      Standridge second argues that the government failed to comply

with 18 U.S.C. § 983(a)(1)(A)(iii).        That provision requires that

the government take certain actions within sixty days of the

seizure of property in a nonjudicial forfeiture proceeding.              This

argument is without merit because the seizure in this case was from

the outset part of a judicial proceeding.

      In any case, it is not necessary for the Court to decide the

questions raised by Standridge’s arguments.           Standridge does not

contend that this Court may not enter an order preserving the

availability of the funds for forfeiture.             Instead, Standridge

merely suggests that the Court defer ruling on the government’s

motion until after the Arizona court has decided Standridge’s Rule

41(g) motion.      The Court declines that suggestion, and instead

enters this Order preserving the availability of the funds for

forfeiture.

      Accordingly, it is

      ORDERED, ADJUDGED, and DECREED:

      1.    The United States’ Motion for Order to Continue to

Maintain Custody of Property Pursuant to 21 U.S.C. § 853(e) (Doc.

# 98) is GRANTED.        The government shall preserve the funds as


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stated in its motion at pages 3–4 until the government obtains a

final judgment of forfeiture or is ordered to release the funds to

a claimant.

      2.    The   United   States’   Expedited    Motion   to   Consolidate

Related Actions Pending in Two Separate Districts (Doc. # 107) is

DENIED.

      DONE and ORDERED in Chambers in Jacksonville, Florida, this

5th day of September 2007.




Copies: All Counsel of Record




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